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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

BRIAN C. DAVISON,                                         )
                                                          )
        Plaintiff,                                        )
                                                          )
v.                                                        )      Civil Action No.: 1:16-cv-932
                                                          )               (JCC/IDD)
                                                          )
LOUDOUN COUNTY BOARD OF                                   )
SUPERVISORS and PHYLLIS RANDALL,                          )
                                                          )
        Defendants.                                       )

                     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                            PURSUANT TO FED. R. CIV. P. 56(a)

        COME NOW the defendants, Loudoun County Board of Supervisors (“the Board” or

“the County”) and Phyllis Randall (“Randall”), by counsel, and pursuant to Fed. R. Civ. P. 56(a)

move this court for summary judgment on the following grounds and as more particularly set

forth in their accompanying memorandum:

        1.      Based on the undisputed facts, the Board is entitled to summary judgment

because the undisputed facts developed during discovery establish that neither the Board nor any

County employees, agents, officials, or representatives deleted any of the plaintiff, Brian C.

Davison’s (“Davison”), Facebook comments and/or postings as alleged in his 2nd Am. Compl.1

        2.      Based on the undisputed facts, Davison has failed to state a claim for alleged

violation of his First or Fourteenth Amendment Constitutional rights against the Board.

        3.      Based on the undisputed facts, plaintiff has failed to state a claim for violation of

his First and Fourteenth Amendment, or Virginia Constitutional rights, against Randall.



        1
       Davison has filed multiple Complaints, the most recent of which is herein referred to as “2nd
Am. Complaint”.
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        4.      Based on the undisputed facts, Randall is entitled to qualified immunity.

        WHEREFORE, the defendants respectfully request that, for all of the foregoing reasons,

and based on the arguments set forth in defendants’ accompanying memorandum as well as any

additional reasons that may be argued at hearing of this matter, the court grant their Motion for

Summary Judgment filed pursuant to Fed. R. Civ. P. 56(a) and dismiss this case and all claims

with prejudice. Pursuant to local rule 11(b) the parties have agreed on a hearing date of April

27, for which this matter has been noticed. The plaintiff herein is pro se and pursuant to and

consistent with the requirements of Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the

following warning is provided:

        1.      The plaintiff is entitled to file a response opposing the defendants’ Motion for

Summary Judgment and any such response must be filed within 21 days or as ordered by the

court; and

        2.      The court could dismiss this action on the basis of the defendants’ papers if the

plaintiff does not file a response;

        3.      The plaintiff must identify all facts stated by the defendants with which he

disagrees and must set forth the plaintiff’s version of the facts by offering affidavits (written

statements signed before a Notary Public and under oath) or by filing sworn statements (bearing

a certificate that it is signed under penalty of perjury); and

        4.      The plaintiff is entitled to file a legal brief in opposition to the one filed by the

defendants.



                                        LOUDOUN COUNTY BOARD OF SUPERVISORS
                                        and PHYLLIS RANDALL

                                        By Counsel


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            /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2017, I electronically filed the foregoing pleading with
the Clerk of Court using the CM/ECF system, which will then send a notification of such filing
(NEF) to the following:

                      Mr. Brian C. Davison
                      43724 Stone Fence Terrace
                      Leesburg, VA 20176
                      bcdavison@hotmail.com




                                                                 /s/
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